Case 2:05-Cr-20273-BBD Document 7 Filed 07/25/05 Page 1 of 2 Page|D 8

5

UNITEI) STATES DIsTRICT COURT am --._.___M
WESTERN DISTRICT OF TENNESSEE 05
Western Division JUL PH 141 29
llottf\$ itt strip
U.S. DlSlR!CT mm
UNITED sTATES oF AMERICA W or ml MEM
-vs- Case No. 2:05cr20273-D

GENE LEACH

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 3 :30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Ma.rshal and produced for the hearing.

Date: July 21,2005 /--"'*'
Cg. /Amrr: Q,-`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8¢'85) Order of Temporary Delsntion

` l ce -
docket sh e inc
ument entered on the
Th‘s doc “" ”nrl*o:' E";"‘.`j ;n __J_ `_ __

\r\l_itl'i fbi l.`.i

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20273 Was distributed by faX, mail, or direct printing on
.luly 27, 2005 to the parties listedl

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

